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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

ANDERS CONSTRUCTION, INC.                 *     CIVIL ACTION NO.:
Plaintiff                                 *     2:14-cv-01250-SM-DEK
                                          *
                                          *     SECTION “E”
VERSUS                                    *     JUDGE SUSIE MORGAN
                                          *
                                          *     MAGISTRATE “3” -
COUVILLION GROUP, L.L.C.                  *     MAGISTRATE JUDGE
AND ABC INSURANCE COMPANY                 *     DANIEL E. KNOWLES, III
Defendants                                *
                                          *
******************************************************************************

             COUVILLION GROUP, L.L.C.’S THIRD PARTY COMPLAINT
               AGAINST COASTAL MARINE CONTRACTORS, L.L.C.

       NOW INTO COURT, through undersigned counsel, comes Defendant, Couvillion Group,

L.L.C., who in files this Third Party Complaint, as follows:

                                                1.

       Made Third Party Defendant herein is Coastal Marine Contractors, Inc., a Louisiana

corporation doing business in the Parish of St. Tammany, State of Louisiana.

                                 FACTUAL BACKGROUND

                                                2.

       In December 2012, Defendant Anders Construction, Inc. contracted with Orleans Levee

District to perform dredging work in Bayou St. John in the Parish of Orleans, State of Louisiana,

known as Bayou St. John Dredging Project, Old Contract No. 20127, New Orleans, LA (“Project”).

                                                3.

       In April 2013, John Anders and Anders Construction, Inc. solicited a bid from Couvillion

Group, L.L.C. for the Project.
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                                                   4.

        Anders Construction, Inc. subcontracted with Couvillion Group, L.L.C. to provide dredging

services on the Project.

                                                   5.

        Couvillion Group, L.L.C. subcontracted with Coastal Marine Contractors, L.L.C. to perform

the dredging work on the Project.

                                                   6.

        Coastal Marine Contractors, L.L.C. failed to properly perform the dredging work on the

Bayou St. John Project, including, but not limited to, failing to dredge the correct volume of

material, failing to dredge in the correct location, and failing to dredge to the correct depth.

                                                   7.

        Coastal Marine Contractors, L.L.C. invoiced Couvillion Group, L.L.C. for the work

performed on the project.

                                                   8.

        In November 2013, Couvillion Group, L.L.C. paid in full all of Coastal Marine Contractors,

L.L.C.’s invoices.

                                                   9.

        After payment of the invoices, Couvillion Group, L.L.C. discovered that Coastal Marine

Contractors, L.L.C. failed to properly perform the dredging work on the Bayou St. John Project,

including, but not limited to, failing to dredge the correct volume of material, failing to dredge in the

correct location, and failing to dredge to the correct depth.
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                                                 10.

       On April 23, 2015 and May 14, 2015, Coastal Marine Contractors, L.L.C., through counsel,

made demand upon Couvillion Group, L.L.C. for payment of invoices for the Bayou St. John

Project.

                                                 11.

       Coastal Marine Contractors, L.L.C. is liable unto Couvillion Group, L.L.C. for the following

reasons to wit:

                      CAUSE OF ACTION: BREACH OF CONTRACT

                                                 12.

       Couvillion Group, L.L.C. repeats and realleges the allegations in Paragraphs 1 through 11 as

is plead herein in extenso.

                                                 13.

       Pursuant to its subcontract with Couvillion Group, L.L.C., Coastal Marine Contractors,

L.L.C. had a duty to properly perform the dredge work on the Bayou St. John Project in the correct

locations and at the correct depths.

                                                 14.

       Coastal Marine Contractors, L.L.C. failed to properly perform the dredging work on the

Project, including, but not limited to, failing to dredge the correct volume of material, failing to

dredge in the correct location, and failing to dredge to the correct depth.

                                                 15.

       Coastal Marine Contractors, L.L.C.’s failure to properly perform the dredging work on the

Project in the correct locations and at the correct depths is a breach of the subcontract with

Couvillion Group, L.L.C.
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                                                 16.

       Through its actions and inactions, Coastal Marine Contractors, L.L.C. breached its duties

under its subcontract with Couvillion Group, L.L.C. by failing to properly perform the dredging

work on the Project in the correct locations and at the correct depths, and such other actions or

inactions as identified through discovery and/or at trial.

                                                 17.

       As a result of Coastal Marine Contractors, L.L.C.’s breach of contract, Couvillion Group,

L.L.C. has incurred, and continues to incur, significant costs and damages.

                                                 18.

       Coastal Marine Contractors, L.L.C. is liable to Couvillion Group, L.L.C. for all damages

resulting from the breach of the subcontract.

               CAUSE OF ACTION: PAYMENT OF A THING NOT OWED

                                                 19.

       Couvillion Group, L.L.C. repeats and realleges the allegations in Paragraphs 1 through 18 as

is plead herein in extenso.

                                                 20.

       Coastal Marine Contractors, L.L.C. failed to properly perform the dredging work on the

Bayou St. John Project, including, but not limited to, failing to dredge the correct volume of

material, failing to dredge in the correct location, and failing to dredge to the correct depth.

                                                 21.

       Coastal Marine Contractors, L.L.C. invoiced Couvillion Group, L.L.C. for its alleged

dredging services on the Bayou St. John Project.
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                                               22.

       Coastal Marine Contractors, L.L.C. received payment from Couvillion Group, L.L.C. for its

invoices on the Bayou St. John Project.

                                               23.

       As a result of Coastal Marine Contractors, L.L.C.’s failure to properly perform the dredging

on the Bayou St. John Project, Coastal Marine Contractors, L.L.C. was not owed the amount claimed

in its invoices to Couvillion Group, L.L.C.

                                               24.

       Pursuant to La. C.C. art. 2298, et seq., Coastal Marine Contractors, L.L.C. is liable to

Couvillion Group, L.L.C. for all payments received by Coastal Marine Contractors, L.L.C. which

were not owed to Coastal Marine Contractors, L.L.C.

                       CAUSE OF ACTION: UNJUST ENRICHMENT

                                               25.

       Couvillion Group, L.L.C. repeats and realleges the allegations in Paragraphs 1 through 24 as

if plead herein in extenso.

                                               26.

       Coastal Marine Contractors, L.L.C. was enriched through Couvillion Group, L.L.C.’s

payment of Coastal Marine Contractors, L.L.C.’s invoices.

                                               27.

       Couvillion Group, L.L.C. has been impoverished by Coastal Marine Contractors, L.L.C.’s

failure to properly perform the dredging work on the Project in the correct locations and at the

correct depths on the Project.
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                                                28.

       No legal cause exists to justify Coastal Marine Contractors, L.L.C. enrichment at Couvillion

Group, L.L.C.’s expense.

                                                29.

       In the event it is determined that Couvillion Group, L.L.C. has no legal remedy to recover the

sums previously paid to Coastal Marine Contractors, L.L.C. on the Project, Coastal Marine

Contractors, L.L.C. is liable to Couvillion Group, L.L.C. under the theory of unjust enrichment.



                                                30.

       Couvillion Group, L.L.C. filed a Counterclaim in this matter against Anders Construction,

Inc. seeking payment for the work performed on the Bayou St. John Project.

                                                31.

       In its Answer filed herewith, Anders Construction, Inc. denies liability for Couvillion Group,

L.L.C.’s claims and filed a Counterclaim for the work performed on the Bayou St. John Project.

                                                32.

       In the event of Judgment, in favor of Anders Construction, Inc. and against Couvillion

Group, L.L.C., denying Couvillion Group, L.L.C. payment or awarding payment to Anders

Construction, Inc. for the work on the Bayou St. John Project as a result of Coastal Marine

Contractors, L.L.C.’s failure to properly perform the dredging work, then Couvillion Group, L.L.C.

alleges that it is entitled to full indemnification or in the alternative, contribution from Coastal

Marine Contractors, L.L.C.
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                                                  33.

       To the extent Anders Construction, Inc. is seeking damages from Couvillion Group, L.L.C.

for the damages caused by Coastal Marine Contractors, L.L.C., then and in that event, Couvillion

Group, L.L.C. avers that it is entitled to indemnification for those damages as well as for all fees and

costs incurred in the defense of this matter and prosecution of Coastal Marine Contractors, L.L.C.



       WHEREFORE, Couvillion Group, L.L.C. prays that this Third Party Complaint be deemed

good and sufficient, and after all proceedings had, that there be judgment herein, in favor of

Couvillion Group, L.L.C. and against Coastal Marine Contractors, L.L.C. for all damages as are

reasonable in the premises, plus interest, attorneys’ fees, all costs for the prosecution of this claim,

and for all other general and equitable relief.

       WHEREFORE, Couvillion Group, L.L.C., further prays that in the event that Judgment, in

favor of Anders Construction, Inc. and against Couvillion Group, L.L.C,. for damages caused by

Coastal Marine Contractors, L.L.C., then, in that event, Couvillion Group, L.L.C. prays that there be

judgment herein in favor of Couvillion Group, L.L.C., and against Coastal Marine Contractors,

L.L.C., for full indemnification or, in the alternative, contribution from Coastal Marine Contractors,

L.L.C., as well as for all fees and costs incurred in the defense of this matter and prosecution of

Coastal Marine Contractors, L.L.C.
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                                                    PIVACH, PIVACH, HUFFT,
                                                    THRIFFILEY & DUNBAR, L.L.C.
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                               CERTIFICATE OF SERVICE

        I do hereby certify that I have on this 11th day of June 2015, electronically filed the
foregoing pleading with the Clerk of Court by using the CM/ECF system which will send a notice of
electronic filing to all counsel of record.

                                                       /s/ Corey E. Dunbar
                                                    COREY E. DUNBAR (30144)
